Case 2:20-mj-10426-MAH Document1 Filed 12/03/20 Page 1 of 3 PagelD: 1

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA i Hon. Michael A. Hammer
Vv. ; Mag. No. 20-10426
MICHELE DEARAUJO : Criminal Complaint

I, Brendan Nally, being duly sworn, state that the following is true and
correct to the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that I am a Postal Inspector with the United States Postal
Inspection Service, and that this complaint is based on the following facts:

SEE ATTACHMENT B
continued on the attached pages and made a part hereof.
JS A, f A Ce
Postal ee ector Brendéy Nally

United States Postal IntSpection Service

Postal Inspector Nally attested to this Complaint by telephone pursuant to FRCP
4.1(b)(2)(A) on the 3rd day of December, 2020.

Honorable Michael A. Hammer Mess ll: ff ive0 v 0A, , Nl
United States Magistrate Judge Signature of Judicial Officer
Case 2:20-mj-10426-MAH Document1 Filed 12/03/20 Page 2 of 3 PagelD: 2

ATTACHMENT A

COUNT ONE
(Possession of Stolen Mail)

In or around November 2020, in the District of New Jersey and elsewhere,
the defendant,

MICHELE DEARAUJO

did unlawfully have in her possession any letter, postal card, package, bag, and
mail, and an article contained therein (“mail matter”), which had been stolen,
taken, embezzled, and abstracted from a mail receptacle, which was an
authorized depository for mail matter, knowing said mail matter to have been
stolen, taken, embezzled, and abstracted from an authorized depository for mail
matter.

In violation of Title 18, United States Code, Sections 1708 and 2.
Case 2:20-mj-10426-MAH Document1 Filed 12/03/20 Page 3 of 3 PagelD: 3

ATTACHMENT B

I, Brendan Nally, am a Postal Inspector with the United States Postal
Inspection Service. I am fully familiar with the facts set forth herein based on
my own investigation, my conversations with other law enforcement officers, and
my review of reports, documents, and evidence. Where statements of others are
related herein, they are related in substance and part. Because this complaint
is being submitted for a limited purpose, I have not set forth each and every fact
that I know concerning this investigation. Where I assert that an event took
place on a particular date, I am asserting that it took place on or about the date
alleged.

1. On or about November 20, 2020 in the early hours, law enforcement
observed Michele Dearajuo (“DEARAUJO”) parked outside a residence (the
“Residence”) in Hunterdon County in the District of New Jersey. She was parked
in the wrong direction on the street.

2. Law enforcement approached DEARAUJO and asked her what she
was doing. She initially told law enforcement that she was delivering flyers to
mailboxes. However, she also provided law enforcement with mail that belonged
to the Residence and was unable to explain why she had the mail. She then
admitted that she took the mail from the Residence’s mailbox. Law enforcement
arrested DEARAUJO and conducted an automobile search of her car. Upon
searching the car, law enforcement recovered mail from several residences in
Hunterdon and Somerset Counties in New Jersey.

i That same day, after being advised of her Miranda rights,
DEARAUJO, who was deported from the United States on or about October 17,
2019 after being arrested and convicted for similar conduct, gave a recoded
interview. During that interview, she admitted to stealing mail from residences
in several towns in New Jersey over the course of approximately one month.

4. Moreover, law enforcement has learned that on or about October 14,
2020, a mailbox in Hunterdon County was tampered with in the early morning,
consistent with DEARAUJO’s pattern of behavior. The victim had been expecting
replacement credit cards to be delivered by mail. Subsequently, the victim
learned that the victim’s credit card had been fraudulently used to purchase
merchandise worth hundreds of dollars. More importantly, those items were to
be shipped to DEARAUJO at her address.
